
 The People of the State of New 
	York, Respondent,&nbsp; 
againstMaxine Knight, Defendant-Appellant.



Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Mary V. Rosado, J.), rendered February 26, 2016, convicting her, upon her plea of guilty, of disorderly conduct, and imposing sentence.




Per Curiam.
Judgment of conviction (Mary V. Rosado, J.), rendered February 26, 2016, affirmed.
Upon our review of the record as a whole and the circumstances of the plea in its totality (see People v Sougou, 26 NY3d 1052, 1055 [2015]), we are satisfied that defendant "intelligently and understandingly waived [her] constitutional rights" (People v Conceicao, 26 NY3d 375, 383 [2015]; see Boykin v Alabama, 395 US 238 [1969]; People v Tyrell, 22 NY3d 359, 366 [2013]), and entered an otherwise knowing and voluntary guilty plea. Furthermore, as defendant pleaded guilty to an uncharged lesser offense, no factual basis for the plea was necessary (see People v Moore, 71 NY2d 1002, 1006 [1988]; People v Clairborne, 29 NY2d 950, 951 [1972]).
In any event, the only relief defendant requests is a dismissal of the accusatory instrument, and she expressly requests this Court to affirm her conviction if it does not grant a dismissal. Since dismissal is not warranted, we affirm on this basis as well (see People v Diaz, 112 AD3d 423 [2013], lv denied 23 NY3d 1036 [2014]).  
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur I concur
Decision Date: February 21, 2017










